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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

 Date: August 31, 2022   Time: 2:26 p.m.- 3:59 p.m.  Judge: HAYWOOD S. GILLIAM, JR.
                            (1 hour and 33 Minutes)
 Case No.: 4:22-cr-00016-HSG1      Case Name: USA v. Highhouse


Defendant: James Theodore Highhouse (Present)
Attorney for Plaintiff: Fara Gold
Attorney for Defendant: Jaime Dorenbaum
Probation Officer: Katrina Chu

 Deputy Clerk: Nikki D. Riley                          Court Reporter: Raynee Mercado

                           PROCEEDINGS: SENTENCING-Held

Notes: The Court sentences the defendant to: 84 months BOP (consisting of 84 months on
counts one, two, and five and 24 months on counts three and four to be served concurrently); 5
years of supervised release (consisting of 5 years on counts one through four and 1 year on count
five to run concurrently) under the usual terms and conditions and the special conditions;
$1,000.00 fine; and $500.00 special assessment. Matter is continued to November 2, 2022 at
10:00 a.m. for a restitution hearing. AUSA is directed to e-file a declaration on the docket if she
confirms there is no restitution being requested. Defendant is ordered to self-surrender on or
before 2:00 p.m. on November 2, 2022 to the federal institution designated by the Bureau of
Prisons or the Oakland office of the United States Marshal, if no designation is made.
